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Magistrate Judge J. Richard Creatura

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, no. WAS 1Y~ SPR
Plaintiff
v. COMPLAINT FOR VIOLATIONS
DAVID LOCKRIDGE JR.,

Title 18, United States Code,
Defendant. Sections 922(g)(1), 924(a}(2),
924(c)(1)(A), and 2;

Title 21, United States Code,
Sections 841(a)(1) and 841(b)(1)(C)

 

 

 

 

BEFORE, the Honorable J. Richard Creatura, United States Magistrate Judge, Tacoma,
Washington.

COUNT 1
(Felon in Possession of a Firearm)

On or about March 30, 2014, at Tacoma, within the Western District of
Washington, DAVID LOCKRIDGE JR., having been convicted of the following crimes
punishable by imprisonment of a term exceeding one year, to wit:

e Attempted Unlawful Possession of a Firearm in the First Degree, Pierce

County Superior Court, Cause Number 98-1-01468-9;

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1201 PACIFIC AVENUE, SUITE 700
UNITED STATES v. DAVID LOCKRIDGE JR. TACOMA, WASHINGTON 98402

(253) 428-3800

 
 

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e Attempting to Elude a Pursuing Police Vehicle, Pierce County Superior Court,
Cause Number 99-1-00497-5;
¢ Rendering Criminal Assistance in the First Degree and Unlawful Possession of
a Firearm in the Second Degree, King County Superior Court, Cause Number
04-C-12145-7; and
e Unlawful Possession of a Controlled Substance with Intent to Distribute,
Pierce County Superior Court, Case Number 10-1-03075-3;
did knowingly possess, and did aid and abet the possession of, a firearm, to wit: a
Masterpiece Arms 5.7x 28mm caliber semi-automatic pistol, bearing serial number
V7337, which had previously traveled in interstate or foreign commerce.
All in violation of Title 18, United States Code, Sections 922(g)(1), 924(a}(2),
and 2.

COUNT 2
(Possession of Cocaine Base with Intent to Distribute)

On or about March 30, 2014, at Tacoma, within the Western District of
Washington, DAVID LOCKRIDGE JR., did knowingly and intentionally possess, and
did aid and abet the possession of, with intent to distribute, cocaine base (“crack”), a
substance controlled under Title 21, United States Code, Section 812.

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(C), and Title 18, United States Code, Section 2.

COUNT 3
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

On or about March 30, 2014, at Tacoma, within the Western District of
Washington, DAVID LOCKRIDGE JR., knowingly and intentionally possessed, and did

aid and abet the possession of, a firearm, to wit: a Masterpiece Arms 5.7x 28mm caliber

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semi-automatic pistol, bearing serial number V7337, in furtherance of a drug trafficking
offense for which he may be prosecuted in a Court of the United States, to wit,
Possession of Cocaine Base with Intent to Distribute, as charged in Count 2.

All in violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.

And the Complainant, Special Agent David Roberts of the Bureau of Alcohol,
Tobacco, Firearms and Explosives, states that this Complaint is based on the following
information.

1, I am currently employed as a Special Agent with the Bureau of Alcohol,
Tobacco and Firearms (ATF). I have been employed as an ATF Special Agent since
October 24, 2010. I am an investigative law enforcement officer of the United States
within the meaning of Title 18, United States Code, Section 2510(7), and empowered by
law to conduct investigations of, and to make arrests for, offenses enumerated in Title 18,
United States Code, Section 2516. I am classified and trained as a Federal Law
Enforcement Officer with federal statutory arrest authority. I have completed the
Criminal Investigator Training Program and the ATF Special Agent Basic Training
Academy taught at the Federal Law Enforcement Training Center located in Glynco,
Georgia. Prior to becoming an ATF Special Agent, I had previous training and
experience as an Industry Operations Investigator with ATF. I received a Bachelor of
Arts Degree in Sociology from the University of Virginia, and a Masters of Arts Degree
in Criminal Justice from Temple University.

2. I obtained the following information through personal observations, and
through information provided to me by other law enforcement officers, and through
discussions with other agents and officers who are familiar with this investigation. I have
also participated in conducting background investigations, including criminal histories,
pertaining to the investigation for the offense described above. As a result, I am familiar

with all aspects of this investigation. However, since this affidavit is being submitted for

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the limited purpose of establishing probable cause, I have not included each and every
fact known to me concerning this investigation. | have read reports written by law
enforcement officers regarding the investigation and arrest of David LOCKRIDGE, Jr.,
born in 1978,

3, On March 30, 2014, Tacoma Police officers, working as a two-man unit in
a fully marked patrol car, observed a gold Chevrolet Caprice, bearing Washington license
plate APC5883. The vehicle was traveling southbound in the 6100 block of McKinley
Avenue in the city of Tacoma. Officers observed that the passenger side rear tail light
was broken. The vehicle then turned eastbound onto East 62nd Street from McKinley

Avenue, where officers initiated a traffic stop.

 

«4, Officers contacted the driver and lone occupant of the vehicle, David
LOCKRIDGE Jr., and informed him as to why he was being stopped. After running his
name with South Sound 911 Records, officers learned that LOCKRIDGE’s driver’s
license was suspended. Officers then informed LOCKRIDGE that he was being placed
under arrest for Driving While License Suspended in the third degree, and he was taken
into custody without further incident.

5. While looking into LOCKRIDGE’s vehicle from the outside through an
open driver’s side door, officers observed what they believed to be a small quantity of
crack cocaine. The apparent cocaine was located inside of a clear container sitting inside
of the center console armrest. The armrest was partially open, and appeared to be broken
and unable to be completely closed.

6. After LOCKRIDGE’s arrest, his vehicle was towed to a secured parking
garage located at the Tacoma Police Headquarters at 3701 South Pine Street, Tacoma.
Officers then prepared a search warrant for the vehicle.

7. On March 30, 2014, officers obtained a signed search warrant for
LOCKRIDGE’s vehicle. Officers recorded the following items as being located and

removed from the vehicle during their search. From a “Steelers” backpack found under

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the front driver’s seat, officers seized a Masterpiece Arms 5.7x 28mm semi-automatic
pistol, bearing serial number V7337, which was loaded with 20 rounds of ammunition in
the magazine (which was inserted into the pistol). Police also seized approximately 9.3
grams of suspected cocaine base (“crack”) from the center armrest; and a small drug scale
that was located in the backseat. Other evidence seized during the search of the car
included a “Steelers” wallet that held LOCKRIDGE’s identification, $900 in U.S.
currency, and several photographs of LOCKRIDGE displaying apparent gang signs and

wearing apparent gang attire, which was found in the front seat area. All of the seized

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items was later booked into evidence at the Tacoma Police Headquarters.

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8. Based on my knowledge and experience as a certified Interstate Nexus

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Expert, I determined that the above Masterpiece Arms pistol, which is a “ftrearm” as

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defined by federal law, was not manufactured in the State of Washington. As a result, I

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know that this firearm must have travelled in, and thereby affected, interstate or foreign

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commerce, in order to be received or possessed in the State of Washington.

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9. I have reviewed copies of Felony Judgment and Sentence documents

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showing that David LOCKRIDGE, Jr. has been convicted for the following crimes, each

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of which is punishable by imprisonment for a term exceeding one year.

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e Attempted Unlawful Possession of a Firearm in the First Degree, Pierce
County Superior Court, Cause Number 98-1-01468-9;

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e Attempting to Elude a Pursuing Police Vehicle, Pierce County Superior Court,
Cause Number 99-1-00497-5;

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Rendering Criminal Assistance in the First Degree and Unlawful Possession of

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a Firearm in the Second Degree, King County Superior Court, Cause Number
04-C-12145-7; and

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Unlawful Possession of a Controlled Substance with Intent to Distribute,
Pierce County Superior Court, Case Number 10-1-03075-3.

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10. Based on the foregoing, I respectfully submit that there is probable cause to
believe that David LOCKRIDGE, Jr. committed the crimes of: Felon in Possession of a
Firearm, in violation of Title 18, United States Code, Sections 922(2)}(1) and 924(a)(2);
Possession of Cocaine Base with Intent to Distribute, in violation of Title 21, United
States Code, Sections 841(a)(1) and 841(b)(1)(C); and Possession of a Firearm in
Furtherance of a Drug Trafficking Crime, in violation of Title 18, United States Code,
Section 924(c)(1)(A).

    

DAVID ROBERTS, Complainant
Special Agent, ATF

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence this 724 day of November, 2014, the Court hereby finds that there is probable

cause to believe the defendant committed the offenses set forth in the Complaint.

“RICHARD CREATURA
United States Magistrate Judge

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